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     LEONARD G. HOROWITZ,pro se
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                                                                                  OCT 08 2024
                                                                                        D'STRICTCOURT
                                                                            northernoistrictofcaufornia
                      CALIFORNIA NORTHERN DISTRICT COURT
                    IN AND FOR THE COUNTY OF SAN FRANCISCO

      ELON MUSK,an individual.                          Case. No. 4:24-cv-04722
                                                        (18: 1962 Racketeering(RICO)Act
                    Plaintiff
                                                         MOTION TO INTERVENE(CCP § 387);
              vs.                                       PROPOSED COMPLAINT IN
                                                        INTERVENTION; EXHIBITS 1-8;
      SAMUEL ALTMAN,an individual,                      AFFIDAVIT OF LEONARD G. HOROWITZ;
      GREGORY BROCKMAN,an individual,                   NOTICE OF MOTION TO INTERVENE;
      OPENAI,INC., a Delaware corporation, et.           CERTIFICATE OF SERVICE
      al.,

c/                  Defendants

                                                        Judge: Hon Yvonne Gonzalez Rogers
                                                        Magistrate: Hon Sallie Kim
      LEONARD G. HOROWITZ,an
      individual.
                                                        Trial Date: Not Set
                    Proposed Intervenor

              vs.



      SAMUEL ALTMAN,an individual,
      GREGORY BROCKMAN,an individual,
      OPENAI,INC., a Delaware corporation, et.
      al.,

                    Defendants



                                 MOTION TO INTERVENE(CCP § 387)

             Pursuant to Califomia Code of Civil Procedure § 387, applicant Leonard G.
     Horowitz, pro se,("Proposed Intervenor," "Horowitz," or "Movant") respectfully submits
     this Motion to Intervene in the above-captioned action. Proposed Intervenor seeks to
     intervene in this matter to protect his interests in the ongoing litigation concerning the claim
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